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                     UNITED STATES DISTRICT COURT

                     EASTERN DISTRICT OF LOUISIANA



UNITED STATES OF AMERICA                                CRIMINAL ACTION


v.                                                      NO. 20-55


JASON WILLIAMS AND NICOLE BURDETT                       SECTION “F”



                                    ORDER


      IT IS ORDERED: that the hearing on the defendants’ motion to

compel is continued to November 25, 2020, on the papers.

                        New Orleans, Louisiana, November 18, 2020


                                   ______________________________
                                        MARTIN L. C. FELDMAN
                                    UNITED STATES DISTRICT JUDGE




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